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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                       ON MULTIDISTRICT LITIGATION


 IN RE: FAIRLIFE MILK PRODUCTS                        MDL Docket No. 2909
 MARKETING AND SALES PRACTICES
 LITIGATION


      INTERESTED PARTY MARLENY OLIVO’S RESPONSE IN SUPPORT OF
      CENTRALIZATION AND TRANSFER TO THE NORTHERN DISTRICT OF
                             GEORGIA

       Plaintiff Marleny Olivo in the recently filed class action captioned Olivo v. The Coca-Cola

Company, et al., No. 2:19-cv-08302 (the “Olivo Action”), pending in the United States District

Court for the Central District of California, hereby submits this Interested Party Response in

Support of Centralization and Transfer to the Northern District of Georgia.

       For the reasons set forth in Movant Eliana Salzhauer’s Motion to Transfer (Dkt. No. 1),

Plaintiff Olivo also supports centralization of the actions due to substantial number of cases

brought against The Coca-Cola Company and Fairlife, LLC (“Defendants”), all of which challenge

uniform conduct: Defendants’ false and misleading marketing of Fairlife milk products as coming

from humanely treated animals when they do not. Plaintiff Olivo also submits that the Northern

District of Georgia is the most appropriate venue to transfer the centralized actions because that

district has the necessary resources and experience to preside over this MDL, and is also the most

convenient venue given that Coca Cola’s headquarters are on Atlanta, Georgia, where most of the

key witnesses and documents will be located.

       For these reasons, Plaintiff Olivo respectfully requests that the Court grant Movant’s

Motion to Transfer, centralize the actions, and transfer them to the Northern District of Georgia.
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Respectfully submitted,

Dated: September 25, 2019                 /s/ Benjamin Heikali
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